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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT TACOMA

 9   NATHEN BARTON,                                    Civil Action No. 3:21-cv-5635
10                        Plaintiff,                   Clark County District Court No. 21C4233-1

11             v.                                      NOTICE OF REMOVAL

12   LENDINGPOINT, LLC & JOHN DOE 1-10,

13                        Defendants.

14

15             Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant LendingPoint, LLC

16   (“LendingPoint”), hereby removes this action from the District Court of the State of Washington

17   for the County of Clark to the United States District Court for the Western District of

18   Washington, Tacoma Division, and states as follows for its Notice of Removal. Removal is

19   proper because this Court has subject matter jurisdiction over this action under federal question

20   jurisdiction pursuant to 28 U.S.C. § 1331.

21                                            I.   INTRODUCTION

22             On August 12, 2021, Plaintiff Nathen Barton filed a complaint against LendingPoint and

23   unnamed and otherwise-unidentifiable individuals, titled Barton v. LendingPoint, LLC, Case No.

24   21C4233-1 (the “State Court Action”). A copy of the complaint is attached as Exhibit 1 to this

25   Notice.

26             A copy of all additional documents served on LendingPoint in the State Court Action up


      NOTICE OF REMOVAL                                                  JORDAN RAMIS PC
      Barton v. LendingPoint, LLC, et al.                          1499 SE Tech Center Place, Ste. 380
      3:21-cv-5635- 1                                                Vancouver, Washington 98683
                                                                            (360) 567-3900
                                                                     40059-12345.RDG 4818-6055-4489.1
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 1   to the time of this filing are attached as Exhibit 2. Taken together, the contents of Exhibits 1 and

 2   2 satisfy LendingPoint’s obligations under 28 U.S.C. § 1446(a).

 3            LendingPoint was served with the complaint in the State Court Action on August 12,

 4   2021. Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal “shall be filed within 30 days

 5   after the receipt [of the complaint] by the defendant.” Because fewer than 30 days have passed

 6   since LendingPoint was served with the complaint, this Notice is timely filed.

 7            The complaint asserts claims based on the Telephone Consumer Protection Act, 47

 8   U.S.C. §§ 227 et seq. (“TCPA”), and federal regulations relating to the do-not-call list managed

 9   by the U.S. Federal Trade Commission. LendingPoint denies the allegations in the complaint
10   and maintains that Plaintiff’s allegations fail to support a claim for which relief can be granted.

11   By removing this case, LendingPoint does not waive any defenses, objections, or motions

12   available under applicable law, including without limitation the right to move for dismissal

13   pursuant to Federal Rule of Civil Procedure 12.

14                                          II.   GROUNDS FOR REMOVAL

15            Under 28 U.S.C. § 1331, district courts have original jurisdiction over “all civil actions

16   arising under the laws of the United States.” Plaintiff’s complaint in the State Court Action

17   alleges violations of the TCPA and related federal regulations. Accordingly, this Court has

18   jurisdiction over the action pursuant to 28 U.S.C. § 1331, and this case is removable pursuant to

19   the Court’s federal question jurisdiction. See 28 U.S.C. § 1441(a).
20            Under 28 U.S.C. § 1367(a), “the district courts shall have supplemental jurisdiction over

21   all claims that are so related to claims in the action within such original jurisdiction that they

22   form part of the same case or controversy.” In addition to the violations of the TCPA and related

23   federal regulations, Plaintiff’s complaint alleges violations of Washington State law. These

24   claims arise out of the same events regarding the same telephone calls that are the subject of

25   Plaintiff’s TCPA claim. Thus, these state law claims are based on the same set of factual

26   allegations as Plaintiff’s cause of action arising under the TCPA. Therefore, they are so related


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 1   that they form part of the same case or controversy. Accordingly, this Court has supplemental

 2   jurisdiction over Plaintiff’s state law claims.

 3                                                III.      Venue

 4            Venue is proper in this Court under 28 U.S.C. § 1441(a), because the court where the

 5   State Court Action is pending—the District Court of the State of Washington for the County of

 6   Clark—is within this judicial district.

 7                                               IV.      NOTICE

 8            Pursuant to U.S.C. § 1446(d), and concurrent with the filing of this Notice, LendingPoint

 9   will file with the District Court of the State of Washington for the County of Clark a notice of
10   filing this Notice of Removal. At the same time, LendingPoint will serve copies of all relevant

11   documents on Plaintiff.

12                                          V.         CONCLUSION

13            As detailed above, LendingPoint has met all requirements for removal of the State Court

14   Action to federal court, pursuant to U.S.C. § 1441 and 1446, including all jurisdictional

15   requirements of U.S.C. § 1331.

16

17   DATED this 31st day of August, 2021.                JORDAN RAMIS PC

18

19
                                                         /s/ Scott S. Anders
20                                                       Scott S. Anders, WSBA #19732
                                                         scott.anders@jordanramis.com
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24                                                       Fax (360) 567-3901
25                                                       Attorneys for Lendingpoint, LLC
26


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 1                                          CERTIFICATE OF SERVICE

 2            I hereby certify that on the date shown below, I electronically filed the

 3   foregoing NOTICE OF REMOVAL with the Clerk of the Court using the CM/ECF system

 4   which will send notification of such filing to the following:

 5            N/A

 6            I also certify the document and a copy of the Notice of Electronic Filing was served via

 7   U.S. Mail on the following non-CM/ECF participants:

 8            Nathen Barton
              4618 NW 11th Cir.
 9            Camas, WA 98607
10
              DATED: August 31, 2021.
11

12                                                             /s/ Scott S. Anders
                                                               Scott S. Anders, WSBA #19732
13                                                             scott.anders@jordanramis.com
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